Case 1:23-cv-06414-JGK Document 36

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BANCO SAN JUAN INTERNACIONAL, INC,,
Plaintiff,

- against -

THE FEDERAL RESERVE BANK OF NEW
YORK, ET AL.,

Defendants.

JOHN G. KOELTL, District Judge:

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ORDER

The reference to the magistrate judge for general pretrial

purposes (ECF No. 31) is withdrawn.
SO ORDERED.
Dated: New York, New York

August 11, 2023

John G. Koeltl

United States District Judge

